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 November 9, 2023

 Via ECF
 Hon. Lee G. Dunst, USMJ
 United States District Court, EDNY
 100 Federal Plaza
 Central Islip, NY 11717

 Re:               Jonatan Barahona and Hector Hernandez v. Paradise Tree
                   Service & Landscape, Corp. and William Nieto
 Venue:            United States District Court, Eastern District of New York
 Civil Action No.: 2:21-cv-05400 (GRB)(AYS)

 Dear Judge Dunst:

 Regarding the above matter, I represent the Defendants, Paradise Tree Service & Landscape,
 Corp. and William Nieto. I am hereby respectfully requesting that I be granted an extension of
 time to oppose and/or cross move against Plaintiff’s Letter Motion, dated November 9, 2023. The
 allegations and relief requested in Plaintiffs’ Counsels’ Letter Motion, are drastic, but more
 importantly, it contains statements by Plaintiff’s Counsel which are false and intentionally made
 to mislead this Court and damage Defendants and their Counsel. I will illustrate these contentions
 with documentary evidence, which is irrefutable. Defense Counsel will also show that Plaintiffs’
 counsel engaged in this practice on a prior occasion which was illustrated by Defendants’ counsel,
 at that time.

 I will also directly address the discovery and pre-trial order issues raised by Plaintiffs’ Counsel. I
 respectfully request I be granted until on or before, Tuesday, November 14, 2023, or some other
 date determined by this court to oppose and/or cross-move regarding Plaintiffs’ November 9, 2023
 Letter Motion. Thank you for your consideration.

 Respectfully submitted,

 Glenn J. Ingoglia

 c.c.:   Via ECF
         Plaintiffs’ Counsel
         Steven J. Moser, Esq.

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